  Case:
    Case22-30033    Document: 00516207883
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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                  TEL. 504-310-7700
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                                                           NEW ORLEANS, LA 70130

                            February 18, 2022
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 22-30033     Dynamic Indust v. Walaa Coop Ins
                       USDC No. 2:21-CV-748

The court has taken the following action in this case:
Appellants’ motion to reopen the appeal is GRANTED.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk




                                  By: _________________________
                                  Allison G. Lopez, Deputy Clerk
                                  504-310-7702


Mr. Luis Etienne Balart
Mr. Christopher Matthew Hannan
Mrs. Kristen Lewis Hayes
Mr. Kent Andrew Lambert
Ms. Carol L. Michel
Mr. Christopher Rutledge Teske
